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                           IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

    IN RE: PHARMACEUTICAL INDUSTRY AVERAGE
                                                                       MDL NO. 1456
           WHOLESALE PRICE LITIGATION
                                                                       C.A. No. 01-12257-PBS
    THIS DOCUMENT RELATES TO:
                                                                       Judge Patti B. Saris
    ALL ACTIONS



          SUR-REPLY TO CLASS COUNSEL’S REPLY BRIEF IN SUPPORT OF
            THEIR MOTION TO ADD INDIVIDUAL PLAINTIFFS AS CLASS
             REPRESENTATIVES FOR THE TRACK TWO SETTLEMENT


         Certain Named Plaintiffs hereby submit the following Sur-Reply to Class Counsel’s

Reply Brief in Support of Their Motion to Add Individual Plaintiffs as Class Representatives for

the Track Two Settlement. Once again, when this Court parses through Class Counsel's

belabored attacks on the undersigned and Certain Named Plaintiffs, and their responses to their

self created issues, 1 it will be clear that nothing has changed - Class Counsel has not

demonstrated that the proposed class representatives "(a) made some payment, (b) for a [Track 2

Defendant’s] product at issue, (c) during the relevant time period, that was (d) based upon a

published AWP for [the Track 2 Defendant’s] product." Dkt. No. 2797 at 1.

I.       Class Counsel Still Has Not Established that the Proposed Representatives Have
         Standing




1
  For example, Class Counsel claim that the undersigned "suggests that each proffered Representative should have
paid for every Track Two drug." While Class Counsel dedicate five (5) pages discussing this claim, it is simply not
true that Certain Named Plaintiffs have made this argument. The actual argument, which should be quite
fundamental for Class Counsel to understand, is that Class Counsel have not established that the proposed Plaintiffs
purchased a single drug that would establish standing against the Track 2 Defendants, even given this Court's "one
plaintiff-one defendant" rule.

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         Class Counsel reiterate a number of the same arguments and conclusory statements

regarding the standing of the individual additional putative class representatives, yet they once

again fail to establish their standing.

         A.       The Claim Forms, if Accurate, Do Not Demonstrate Payment

         Class Counsel continue to rely on the Track 2 claim forms to demonstrate that the

proposed representatives paid for a Subject Drug. However, as Class Counsel conceded, the

claim forms do not evidence payment for any of the drugs. Rather, as Class Counsel previously

recognized in their Post-Hearing Supplemental Memorandum in Support of Motion for Final

Approval of Class Action Settlement with AstraZeneca, "most [beneficiaries identified by CMS]

are not Class Members because they had full supplemental insurance coverage.” 2 See Dkt. No.

5446 at 10 of 30.

         Perhaps more importantly, the accuracy of the claim forms is questionable. For example,

Class Counsel rely on the Track 2 claim form to show that Ms. Swayze took certain Track 2

drugs. At pages 10-11 of her Affidavit, Dkt. No. 7572-1, the claim form indicates that she took

Epogen on eight (8) separate occasions between January 7, 2003 and March 18, 2003. However,

despite Class Counsel's efforts to redact the Swayze documents produced to the undersigned the

day of the Fairness Hearing as discussed in Named Plaintiffs' Opposition, we now know that Ms.

Swayze never treated with Epogen; rather she received Procrit during that time period. 3 Making


2
  Undoubtedly, Class Counsel will ignore the substantive issue that the CMS data does not establish payment and
will not address their own concession of the same, but will instead attack the undersigned by pointing out that their
concession was made in opposition to the undersigned's view that settlement checks should be sent to the
beneficiaries established by CMS for the AstraZeneca settlement. However, the difference between relying on the
CMS data for efficient and economic allocation of settlement funds and relying on the same to establish Article III
standing should be quite obvious, at least to the Court.
3
 As Amgen pointed out to this Court in its Opposition to Class Certification (Dkt. No. 2801), "Epogen and Ortho
Biotech’s Procrit are the same biologic (Epoetin alfa), but are marketed for different indications. The codes
assigned to Epoetin alfa distinguish different uses but do not distinguish between the two brands. Thus, an
individualized inquiry is required of every payment for Epoetin alfa to determine if the payment was for Epogen or

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light of their multiple direct misrepresentations to the Court, and failing to explain the same,

Class Counsel concede at footnote 13 "it does indeed appear that Ms. Swayze was not

administered Amgen's Epogen as was initially believed (Procrit and Amgen [sic] share the same

J-Code), as demonstrated by Ms. Swayze's subsequently-produced records." 4

         In case there is any doubt as to the shortcomings of Class Counsel's proffer regarding the

putative class representatives, given the many different arguments and angles taken by Class

Counsel in their Reply Brief that simply do not address the fundamental issue that they have not

met their burden, 5 Certain Named Plaintiffs direct the Court to an earlier filing by Class Counsel

wherein they set forth in a clear and cogent manner direct proof that one of their association

plaintiffs, Local 537, had in fact "(a) made some payment, (b) for a [Track 2 Defendant’s]

product at issue, (c) during the relevant time period, that was (d) based upon a published AWP

for [the Track 2 Defendant’s] product." 6 In Class Plaintiffs' Submission Regarding

Reimbursement for Anzemet by Pipefitters Local 537 Trust Fund, Class Counsel set forth a

number of documents that proved that Local 537 paid based on AWP, including citing to the


for Procrit. Neither drug is commonly referred to in provider statements by brand name, but instead, is typically
referred to simply as Epoetin alfa or by one of the J codes."
4
  To be clear, the records which were only recently subsequently produced to the undersigned, were produced to
Class Counsel on June 22, 2007. Class Counsel cannot claim to have only now come to this “revelation” that Ms.
Swayze never took Epogen in order to shield themselves from their apparent misrepresentations when they have had
the unredacted documents for over four (4) years.
5
  Parties seeking class certification – including certification of a settlement class - have the burden of establishing
the elements necessary for class certification. Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 613-14 (1997); In re
Relafen Antitrust Litigation, 225 F.R.D. 14 *3 (D. Mass. 9/2/04) (Young, J.). The lone exception is that because
plaintiffs move to certify a settlement class, the Court “need not inquire whether the case, if tried, would present
intractable management problems.” Amchem, 521 U.S. at 620. The other requirements of Rule 23, however -
“those designed to protect absentees by blocking unwarranted or overbroad class definitions-demand undiluted, even
heightened, attention in the settlement context...for a court asked to certify a settlement class will lack the
opportunity, present when a case is litigated, to adjust the class, informed by the proceedings as they unfold.” Id.
6
  Of course, Certain Named Plaintiffs maintain their objection that the association plaintiffs do not legally have
standing, the foregoing citations is simply meant to demonstrate that Class Counsel are fully aware of the necessary
proofs to establish standing - if it can legally be conferred - they simply have not done so respecting the putative
consumer representatives.

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Court the relevant AWP of Anzemet at the time ($155.88) and demonstrating the math that

proved that the Fund had in fact paid for Anzemet based on AWP. 7 Dkt. No. 4677.

            Thus, Class Counsel is well aware of the necessary showing to establish the standing of

the putative consumer representatives. In this instance, Class Counsel simply have not satisfied

the standard.

            B.       Product Identification

            Class Counsel claim that the Court "long ago" resolved the issue that the proposed

representatives lack standing because they paid for multi-source drugs and therefore cannot

identify the manufacturer of the drug(s). However, though they make the statement twice,

Motion at 2 and 9, they do not provide a citation to any ruling by the Court to this effect. In fact,

the Court has not "resolved" the issue.

            Class Counsel's citations to product liability cases regarding theories of alternate and

market-share liability are unavailing. Aside from the obvious differences between the subject

matter and the instant case, there is simply no "relaxation" of the Article III standing requirement

and Class Counsel have not provided any cases that allow such relaxation.




7
    The filing states in relevant part:

                      This conclusion is drawn from the following observations. The BCBSMA data related to
            the Fund shows two reimbursements in 2001 by the Fund for the drug Anzamet. See Declaration
            of Edward Notargiacomo (“Notargiacomo Decl.”) Exh. A. The data shows that the co-payment
            amount paid by the consumer for both of these transactions (“COINS_Amt”) was $14.81. The
            data also shows that the amount paid by the Fund (“Paid_Amt”) to be $133.29 per transaction.
            Adding the co-payment and the amount paid by the Fund confirms the allowed amount indicated
            in the data (“Allowed_Amt”) of $148.10 ($14.81 + $133.29 = $148.10). The 1999 AWP for
            Anzamet was $155.88. Notargiacomo Decl. Exh B. An allowed amount of $148.10 is 95% of
            the 1999 AWP for Anzamet of $155.88 (.95 X $155.88 = $148.086).

Dkt. No. 4677 at 1-2.



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        C.       The individual proffers

        Class Counsel have not pointed to a single document for each individual proposed class

representative that proves that they (a) made some payment, (b) for a Track 2 Defendant’s

product at issue, (c) during the relevant time period, that was (d) based upon a published AWP

for the Track 2 Defendant’s product. Instead, they try to muddy the already murky waters by,

inter alia, baldly asserting to the Court by stating that the basis of Magistrate Bowler's Order,

that "Haviland's representation to Judge Bowler that Class Counsel had done nothing other than

produce the Track Two Settlement claim forms for these proposed Representatives," was false.

In fact, prior to Magistrate Bowler's Order, the claim form was the only document produced for

Ms. Laday. They then attempt to attack the undersigned point-by-point with conclusory

statements regarding what Class Counsel has done, instead of simply establishing the standing of

the proposed individuals. There is no reason why the same minimal showing of standing that has

applied to every class representative in this case, 8 should not apply to the instant settlement.

        Among the many arguments that Class Counsel make to avoid addressing the

fundamental issue of standing is their belief that because the undersigned allegedly did not object

at preliminary approval to Ms. Tonacchio in 2008, Certain Named Plaintiffs objection at final

approval is waived. They are wrong. It remains their burden to show standing, whether there is

an objection or not. See e.g., Order dated March 29, 2011 at Dkt. No. 7483 (dismissing, without

prejudice, the certified litigation J&J subclass of Class 1 on finding that “plaintiffs have not




8
 The showing applied to the J&J subclass, which was dismissed for Class Counsel's failure to establish standing
because they did not proffer written records demonstrating that their proposed class representative took Remicade
during the relevant time period.


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demonstrated that Mrs. Oustad is an adequate class representative under Fed.R.Civ.P. 23(a)”,

despite the Court's prior preliminary approval of Mrs. Oustad). 9

        With respect to Ms. Swayze, even though they concede that she was a not a class

representative at the time Class Counsel entered into the subject settlement without a consumer

class representative, Class Counsel state that she "was kept apprised of the status of the case and

settlement negotiations." This argument fails on its face as, by Class Counsel's concession, the

"settlement negotiations" were concluded prior to Ms. Swayze's involvement. Even still, we will

never know when and to what extent Ms. Swayze and the other individuals became involved in

the litigation because the undersigned has been denied the opportunity to conduct discovery or

inquire at the Fairness Hearing. Class Counsel has told the Court that they did not even bother

telling any of the individuals about their proposed "rebalancing". June 13, 2011 Tr. at 27:14-16.

Accordingly, the record shows only that these proposed representatives were cherry-picked from

claims data after the settlement was entered into by Class Counsel. Thus, they have served no

meaningful purpose for fait accomplis.

        While Class Counsel press their claims of standing for Mr. Trusky as to Amgen, as

discussed at the June 13 Fairness Hearing, at most that is one of the Track 2 Defendants. At the

April 27, 2009 hearing, Class Counsel represented to the Court that the Court had said "[g]oing

forward, this is a dying class, I may consider one Part B representative being good enough for a

group of defendants, so go make sure you find at least one" April 27, 2009 Tr. at 76:8-10.

Apparently not recalling making such statement, the Court asked Attorney Berman for the

transcript section where the Court had made this comment and Attorney Berman said he "will go


9
  Demonstrating that they do not understand the Supreme Court's Amchem decision, Class Counsel attempt to
differentiate the Court's Oustad Opinion from the current situation where they have not demonstrated that the
proposed settling plaintiffs have standing arguing that Oustad was dismissed "because she was lacked standing for a
litigation Class, not a settlement Class." FN 6.

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get it." Id. at 76:13-15. The Court never did make the ascribed comment, and instead, the Court

has insisted on Class Counsel proffering a putative class representative for each defendant in the

litigation, consistent with the long-standing "one plaintiff-one defendant" rule. It appears that

Class Counsel wisely chose to abandon this argument; nevertheless, the one plaintiff-one

defendant rule is intact and Class Counsel have failed to demonstrate standing to meet this

standard.

II.      Adequacy & Typicality

         Class Counsel claim that Certain Named Plaintiffs' objection to the fact that the proposed

class representatives had absolutely no role in the settlement and that therefore they are

inadequate to represent the Class ignores the "relevant law." 10 Reply Brief at 20. Once again,

Class Counsel simply make this conclusory statement without identifying any relevant law to

support their position. That is because there is no case which stands for the proposition that the

lawyers in a putative, uncertified class action may troll through the settlement claims

administrator’s database of proposed settlement class claimants to find prospective plaintiffs to

sponsor their lawyer-driven settlement.

         Class Counsel make yet another unsubstantiated claim regarding the putative class

representatives stating: "[w]here class representatives are sufficiently involved in the case - as

these proposed representatives are - there is nothing inappropriate about a class representatives'

reliance on advice of counsel." Reply Brief at 21 (emphasis added). Although the proposed

putative class representatives attest to having varying degrees of awareness about the litigation, 11

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  “[A]dequacy of representation is the key to the integrity of class litigation, not only in pragmatic terms of the
efficiency and thoroughness of the proceedings but far more importantly in relation to the fair and just resolution of
the dispute.” Folding Cartons, Inc. v. American Can Co., 79 F.R.D. 698, 701 (N.D.Ill.1978).
11
  Consumers Laday and Trusky claim to have reviewed the terms of the proposed settlement, Tonacchio was
"provided with information regarding [Class Counsel's] settlement", and Swayze claims to have been "kept apprised
of the status of the case and of settlement negotiations" (emphasis added), however, again, as of the June 13, 2011

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this ex post facto awareness of a settlement is not the "involvement" envisioned by the court's

cited by Class Counsel. In fact, Class Counsel conveniently isolate a favorable line from the In re

Tyco case stating that class representatives do not need to possess "expert knowledge" to be

adequate and ignore the qualifying language that follows. The In re Tyco court proceeds to state:

                 However, individuals should not serve as class representatives if they possess 'so
        little knowledge of and involvement in the class action that they [are] unable or unwilling
        to protect the interests of the class against the possibly competing interests of the
        attorneys.' The adequacy requirement is satisfied 'unless [the class representatives']
        participation is so minimal that they virtually have abdicated to their attorneys the
        conduct of the case.'

2006 WL 2349338, *2 (D.N.H.,2006) (citations omitted)

        As mentioned in Kirkpatrick v. J.C. Bradford & Co., a complex securities case that

predated the PSLRA, which is cited by the In re Tyco court:

                As the district court aptly noted, a potential class is entitled to “more than blind
        reliance upon even competent counsel by uninterested and inexperienced
        representatives.” In re Goldchip Funding Co., 61 F.R.D. at 594. For where the named
        plaintiffs “have abdicated their role in the case beyond that of furnishing their names as
        plaintiffs,” the attorneys, in essence, are the class representative. Helfand v. Cenco, 80
        F.R.D. 1, 7-8 (N.D.Ill.1977). Several district courts thus have properly denied class
        certification where the class representatives had so little knowledge of and involvement
        in the class action that they would be unable or unwilling to protect the interests of the
        class against the possibly competing interests of the attorneys. See, e.g., Efros v.
        Nationwide Corp., 98 F.R.D. 703, 707 (S.D.Ohio 1983); Helfand v. Cenco, supra; see
        also 7A Wright, Miller & Kane at §1766 pp. 310-11 (the “inquiry into the knowledge of
        the representative is to ensure that the party is not simply lending his name to a suit
        controlled entirely by the class attorney.”)


827 F.2d 718 (11th Cir. 1987). See also Darvin v. International Harvester Co., 610 F.Supp. 255,

257 (S.D.N.Y. 1985); Massengill v. Board of Educ., 88 F.R.D. 181 (N.D.Ill.1980) (finding that




Fairness Hearing, none of the individuals were even consulted regarding the rebalancing of the settlement fund Class
Counsel unilaterally endorse.

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that Rule 23(a)(4) was not satisfied where the named plaintiffs demonstrated insufficient

participation in and awareness of the litigation.). 12

         Here, as in the above-cited cases, there should be no question that the attorneys have

conducted this case. In fact, there was nothing for the proposed individuals to abdicate - the

attorneys have been the only people conducting the case for the past several years. The

individuals have simply been brought in after the case has been settled - at least to Class

Counsel's satisfaction - to simply lend their name as a "plaintiff".

         Contrary to yet another conclusory statement by Class Counsel, it is far from "clear that

the present Representatives are excellent representatives for the Class." The Court has already

refused to certify a litigation class with the association plaintiffs and any argument by Class

Counsel that attempts to differentiate that ruling from the current posture ignores the Supreme

Court's instruction in Amchem. See 521 U.S. at 620. (holding that the requirements for Rule 23

certification, other than the 23(b)(3)(D) manageability requirement, “those designed to protect

absentees by blocking unwarranted or overbroad class definitions-demand undiluted, even

heightened, attention in the settlement context. Such attention is of vital importance, for a court

asked to certify a settlement class will lack the opportunity, present when a case is litigated, to

adjust the class, informed by the proceedings as they unfold.”).

         At the end of the day, Class Counsel can continue to claim that "the proposed Class

Representatives are adequate even if they did not participate in the original [and only] Settlement

negotiations", and continue to make bald conclusory statements, but it is the Court who is



12
  It should be noted that the adequacy analysis in the above-cited cases all centered around discovery from the
putative class representatives in those cases. In this case, despite the Court's acknowledgement that "the deposition
of the class rep is a pretty standard thing", April 27, 2009 Hrg. Tr. at 75:13-14, Certain Named Plaintiffs' attempts to
get discovery have been quashed. Accordingly, the Court is left with nothing more than affidavits created by Class
Counsel that were signed, in most cases over three years after the subject settlement was negotiated by Class
Counsel.

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actually charged with a fiduciary duty to analyze the settlement and the certification

requirements with "undiluted, even heightened, attention." The one thing that all parties agree

on, including Class Counsel, the Defendants, Certain Named Plaintiffs, the other objectors, and

the Court, is that there is simply no precedent, in this Circuit or in any court throughout the

country, that sponsors what Class Counsel is attempting to do in this case by folding in putative

class representatives, identified as part of the claims process in this case years after Class

Counsel unilaterally entered into a settlement, to serve as adequate and typical class

representatives.



Dated: July 6, 2011                            _/s/ Donald E. Haviland, Jr.________
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                               CERTIFICATE OF SERVICE

       I, Donald E. Haviland, Jr., hereby certify that on July 6, 2011 the foregoing Sur-Reply to

Class Counsel's Reply Brief in Support of Their Motion to Add Individual Plaintiffs as Class

Representatives for the Track Two Settlement was filed via CM/ECF and all counsel of record

were served via ECF notification.


                                                            /s/ Donald E. Haviland, Jr.
                                                            Donald E. Haviland, Jr.




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